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UN|TED STATES BANKRUPTCY COURT
| D|STR|CT OF CONNECT|CUT
BR|DGEPORT D|V|S|ON

g |N RE: ; CASE NO. 17-51434 (jam)
ANTO|NETTE |\/|. |\/|URRAYA/K/A : JANUARY14, 2019
Debtor

|| WlTHDRAWAL OF MOVANT’S MOT|ON FOR REL|EF FROM STAY

l |\/|ovant, BAYV|EW LOAN SERV|C|NG, LLC, hereby Withdraws its |\/Iotion
for Re|ief from Stay filed December 5, 2018, Docket Entry Number 78.
Creditor's motion is moot as Debtor has become current on the post-

\ confirmation payments and such relief from stay is no longer required.

Dated at Hartford, Connecticut this 14th day of January, 2019.

ll By_ffct08246!!
` C|audia |\/|. Sklar, Esq. of

l O’Conne||, Attmore & |V|orris, L.L.C.
' 280 Trumbu|| Street, 23rd F|oor

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ll Fed. Bar No. CT 08246

O’CONNELL, ATTMORE 8c MORRIS, LLC

|. 280 TRUMBULL STREET ~ HARTFORD, CONNECTICUT 06103-3598 ' (860) 548-1300
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CERT|F|CAT|ON OF SERV|CE

' l hereby certify that a copy of the foregoing Was served upon all of the
l following parties either by operation of the Court’s electronic filing system or by
first class mail, postage prepaid, on this 14th day of January, 2019:

Debtor
' Antoinette l\/l. l\/lurray a/k/a
Antoinette l\/lurray a/k/a
' Antoinette l\/lorris
| 81 Brian Drive
Trumbu|l, CT 06611

Debtor’s Attorney

George W. Derbyshire

LaW Office of George W. Derbyshire
' 1825 Barnum Avenue
; Suite 205

Stratford, CT 06614

' uwclerb shire&_i)snel.nel

 

Chapter 13 Trustee
Roberta Napolitano

10 Columbus Bou|evard
6th F|oor

Hartford, CT 06106

Office of the U.S. Trustee

Giaimo Federa| Bui|ding

150 Court Street, Room 302

NeW Haven, CT 06510
__//ct08246//
C|audia M. Sklar, Esq.

 

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